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                      EXHIBIT B
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 1

 2                          UNITED STATES DISTRICT COURT

 3                          NORTHERN DISTRICT OF CALIFORNIA

 4                          SAN FRANCISCO DIVISION

 5                          MASTER CASE NO: 3:07-cv-05944-SC

 6                          INDIVIDUAL CASE NO. 3:13-cv-01173-SC

 7                          MDL NO. 1917

 8

 9     In Re:    CATHODE RAY TUBE (CRT)

10     ANTITRUST LITIGATION

11     - - - - - - - - - - - - - - - - - - - - - - - -

12     This Document Relates To :

13     All ACTIONS

14     - - - - - - - - - - - - - - - -           - - - - -

15                      HIGHLY CONFIDENTIAL TRANSCRIPT

16                      VIDEOTAPED TRANSCRIPT of Vincent

17     Sampietro in the above-entitled matter, as taken by

18     and before LORRAINE B. ABATE, a Certified Shorthand

19     Reporter and Notary Public of the State of New York,

20     Registered Professional Reporter and Certified Live

21     Note Reporter, held at the offices of Weil Gotshal &

22     Manges, 767 Fifth Avenue, New York, New York               on June

23     25, 2014, commencing at 9:51 a.m., pursuant to

24     Notice.

25



                                           1

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         2                      MR. BENSON:     Objection to form and to

         3             this translation.

         4             A.       I have no knowledge of that.

18:27    5             Q.       To prepare for today's deposition, did

         6     you speak to anybody else involved in procurement at

         7     either of the two entities about whether they

         8     believed there had been any conspiratorial activity

         9     among CRT tube suppliers?

18:27   10             A.       No, I did not speak to them about such

        11     activities.

        12             Q.       Okay.    In the context of the overall

        13     preparation for today's deposition, in other words,

        14     putting aside what you personally did, do you know

18:27   15     whether anybody did that?

        16             A.       I have no knowledge if anyone else did.

        17             Q.       Did you ever have a belief that Samsung

        18     and LGPD were conspiring?

        19             A.       I had no belief that they were

18:27   20     conspiring.

        21             Q.       It says "We will notice that we will

        22     concentrate purchase orders to Thomson."

        23                      Do you see that?

        24             A.       Yes, I see that.

18:28   25             Q.       Okay.    And do you have any understanding



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         2                       MR. HEMLOCK:     I'd like to introduce as

         3             Exhibit 3621.      It's SHARP-CRT-2833.        It's a

         4             Japanese document.        We have an English

18:31    5             translation.      And the title of the document is

         6             USA Representative Monthly Report 2002 November

         7             A. Kinoshita, and the translation will be

         8             3621-E.

         9                       Mr. BENSON:     And I'll just lodge our

18:32   10             same preliminary objections to the translation

        11             until we have had a chance to study it.

        12                       (Exhibit 3621, USA Representative

        13             Monthly Report 2002 November A. Kinoshita,

        14             marked for identification, as of this date.)

18:32   15                       (Exhibit 3621-E, Translation of Exhibit

        16             3621, marked for identification, as of this

        17             date.)

        18             A.        Okay.

        19             Q.        Have you seen this document before?

18:35   20             A.        I've never seen it.

        21             Q.        Do you know who A. Kinoshita is?

        22             A.        No, I do not.

        23             Q.        I would like to turn your attention to

        24     Bates page 2838 -- you know what, scratch that.

18:36   25     Sorry.



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         2                      Let's turn to 2848.        And sorry.     Just --

         3     I'll represent I don't think this will be disputed,

         4     this was produced by Sharp.          This document was

18:36    5     produced by Sharp.        It bears a Sharp Bates stamp.

         6             A.       Is this 2848?

         7             Q.       Yes.    It looks like this.       NAFTA CRT.

         8             A.       Yes.    Okay.

         9             Q.       And if you turn to the next page, you'll

18:36   10     see that there is a variety of information, appears

        11     information regarding -- well, the document is titled

        12     Y 2002 CRT Competitors Production Trend.              And then

        13     that's information about a variety of CRT suppliers;

        14     Thomson, MDDA, Philips, Toshiba, Sony, Samsung,

18:37   15     Hitachi, Orion.         Do you see that?

        16             A.       Yes, I see that.

        17             Q.       Okay.    Now, do you know who would

        18     have -- where could somebody get information like

        19     this?

18:37   20                      MR. BENSON:     Objection to form.        Calls

        21             for speculation, beyond the scope.            You can

        22             answer if you have personal knowledge.

        23             A.       I have no personal knowledge.

        24             Q.       Do you recall ever seeing information

18:37   25     reflecting various tube sizes and how much was being



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         2     produced in those sizes by various CRT tube

         3     competitors?

         4             A.       No.

18:38    5                      MR. BENSON:     Objection to form.        Vague.

         6             You can answer in your personal capacity.

         7             A.       No, I have not seen this before or have

         8     no information where this would be obtained.

         9             Q.       Was this the kind of information that

18:38   10     was routinely available to Sharp and to other

        11     purchasers of CRT tubes?

        12                      MR. BENSON:     Objection to form.        Vague.

        13             Beyond the scope.       You can answer if you have

        14             personal knowledge.

18:38   15             A.       I have no personal knowledge of such.

        16             Q.       If you turn to the next page, it says

        17     NAFTA CRT Competitors Topics.            Do you see that?

        18             A.       Yes.

        19             Q.       And then there's some information about

18:38   20     Thomson, Philips and Samsung.            Do you see that?

        21             A.       Yes, I see that.

        22             Q.       Is this the kind of information that you

        23     would expect that a competitor would have about its

        24     other competitors?

18:39   25                      MR. BENSON:     Objection to form.        These



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         2                      If you became aware that a CRT supplier

         3     had obtained this information as to its competitors,

         4     would that lead you to believe that it had had

18:41    5     communications or meetings with those suppliers?

         6                      MR. BENSON:     Same objections.        And

         7             beyond the scope -- well, beyond the scope is

         8             included in there.       You can answer in your

         9             personal capacity.

18:41   10             A.       I cannot make that assumption.

        11             Q.       Okay.    If this document, if this

        12     presentation had been made by a CRT tube supplier to

        13     Sharp and the document was found in Sharp's files and

        14     produced from Sharp's files, isn't it reasonable to

18:42   15     assume that that supplier obtained all this

        16     information from all these other suppliers?

        17                      MR. BENSON:     Same objection.

        18             A.       I cannot make that assumption.           I don't

        19     have information on the subject matter.

18:42   20             Q.       Do you recall whether any CRT tube maker

        21     who ever visited SEMA or SMCA provided information

        22     about what its competitors were doing?

        23                      MR. BENSON:     Same objections.        You can

        24             answer in your personal capacity.

18:42   25             A.       In my experience, I was not aware of any



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         2     CRT supplier providing information concerning another

         3     CRT supplier.

         4             Q.       Did SEMA believe in 2002 that the CRT

18:43    5     suppliers were engaging in information exchanged with

         6     one another?

         7                      MR. BENSON:     Objection to form and

         8             vague.

         9             A.       I have no information they were aware of

18:43   10     any conversation between suppliers.

        11             Q.       And separately, but apart from

        12     awareness, was there a belief that there was such

        13     communication?

        14                      MR. BENSON:     Objection to form.        Asked

18:43   15             and answered.

        16             A.       I have no understanding that there was

        17     any belief that there was any communication between

        18     suppliers per SEMA's knowledge.

        19             Q.       Okay.    Are you aware that there was an

18:43   20     A. Kinoshita who was an employee of Panasonic in

        21     November 2002?

        22                      MR. BENSON:     Objection to form.        Beyond

        23             the scope.       You can answer if you have personal

        24             knowledge.

18:43   25             A.       No, I have no personal knowledge.



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